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                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                              Jane K. Castro
Clerk of Court                                                                  Chief Deputy Clerk
                                        May 12, 2025




To Counsel of Record and Clerk of Court

RE:        25-1164, D.B.U., et al v. Trump, et al
           Dist/Ag docket: 1:25-CV-01163-CNS

Dear Counsel and Clerk:

Please be advised that the court issued an order today dismissing this case.

In addition, pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's
mandate issued today, and the court's judgment takes effect. With the issuance of this
letter, jurisdiction is transferred back to the lower court/agency.

Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court




CMW/klp
